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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )
                                              )
                      Plaintiff,              )
                                              )                      8:10CR91
       vs.                                    )
                                              )                       ORDER
BRYAN COTA,                                   )
                                              )
                      Defendant.              )


       This matter is before the court on the defendant's Motion to Extend Time to File
Pretrial Motions [30]. Upon review of the file, the court finds that an approximate 30-day
extension should be granted.

      IT IS ORDERED that the Motion to Extend Time to File Pretrial Motions [30] is
granted, in part, as follows:

       1.    The deadline for filing pretrial motions is extended to May 12, 2010.

       2.    Defendant is ordered to file a waiver of speedy trial as soon as practicable.

        3. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of
justice will be served by granting this motion and outweigh the interests of the public and
the defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between April 12, 2010 and May 12, 2010, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
for the reason that counsel require additional time to adequately prepare the case, taking
into consideration due diligence of counsel and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. §
3161(h)(8)(A) & (B)(iv).

       DATED this 12th day of April, 2010.

                                            BY THE COURT:

                                            s/ F.A. Gossett
                                            United States Magistrate Judge
